           Case 1:22-cv-02101-JPB Document 1 Filed 05/25/22 Page 1 of 8




                     UNITED STATES DISTRICT COURT
                     NORTHERN DISTRICT OF GEORGIA
                           ATLANTA DIVISION

 Kabbage, Inc. d/b/a KServicing,

        Plaintiff,

 v.
                                              CIVIL ACTION NO.
 Customers Bank,

       Defendant.


                                   COMPLAINT

      Plaintiff Kabbage, Inc. d/b/a KServicing (“KServicing”), by and through its

counsel, files this Complaint against Defendant Customer Bank (“Customers”) and

states as follows:

                                     PARTIES

      1.      Plaintiff KServicing is a citizen of Georgia and Delaware because it is

a Delaware corporation and has its principal place of business in Atlanta, Georgia.

      2.      Defendant Customers Bank is a citizen of Pennsylvania because it is a

Pennsylvania state-chartered bank and has its principal place of business in

Wyomissing, Pennsylvania.




                                          1
           Case 1:22-cv-02101-JPB Document 1 Filed 05/25/22 Page 2 of 8




                          JURISDICTION AND VENUE

      3.      This Court has personal jurisdiction over Customers because

Customers has conducted activities and/or maintained sufficient contacts to place it

within the personal jurisdiction of this Court.

      4.      Customers has entered into contracts for various loan services rendered

by KServicing in Georgia that are the subject of this suit.

      5.      Customers funded loans pursuant to one such agreement in Georgia by

making payment to a bank account located in Atlanta, Georgia. Customers further

made payment to KServicing for services provided to a separate bank account

located in Atlanta, Georgia.

      6.      Customers has repeatedly directed correspondence related to the

parties’ agreements to KServicing in Georgia.

      7.      This Court has jurisdiction over the subject matter of this action under

28 U.S.C. § 1332(a) because this civil action involves a citizen of one state and a

citizen of a different state and the matter in controversy exceeds $35,000,000

exclusive of interest and costs.

      8.      Venue is proper in this district under 28 U.S.C. §§ 1391(b)(1) and (2)

because Customers is subject to personal jurisdiction in Georgia, and therefore

resides in this district within the meaning of 28 U.S.C. § 1391(c).

                                           2
           Case 1:22-cv-02101-JPB Document 1 Filed 05/25/22 Page 3 of 8




                                     FACTS

      9.      At all relevant times, KServicing has provided, and is continuing to

provide, Customers with various services related to loans funded by Customers and

issued pursuant to the Small Business Administration’s (the “SBA”) Paycheck

Protection Program (the “PPP”). This action arises out of Customers failure to pay

KServicing amounts owed for those services pursuant to the parties’ agreements.

      10.     On or about April 27, 2020, KServicing and Customers signed the

Processing and Servicing Agreement Pursuant to Division A, Title I of the CARES

Act (the “PSA”). Under the PSA, KServicing agreed to service and process PPP

loans funded and originated by Customers. In exchange, Customers agreed to pay

KServicing a specified percentage of each loan amount serviced under the PSA (the

“Agent Fee”).

      11.     KServicing and Customers also entered into the SaaS Services

Agreement (“SSA”), in which KServicing agreed to provide proprietary software to

assist Customers in servicing PPP loans. Customers again agreed to pay a specified

percentage of the loan amount for each loan serviced using the software (the “SaaS

Service Fee”).

      12.     Pursuant to a January 15, 2021 amendment to the PSA and SSA,

Customers is obligated to make payment for the services provided under the

                                         3
        Case 1:22-cv-02101-JPB Document 1 Filed 05/25/22 Page 4 of 8




respective agreements within “thirty (30) calendar days from the date that Bank

receives the Bank Processing Fee from the SBA in respect of the applicable Loan.”

      13.   On or about March 11, 2021, the PSA and SSA were amended again.

That amendment, among other things, established a procedure by which KServicing

would refer loans to BillFloat, Inc. d/b/a SmartBiz Loans (“SmartBiz”) for further

processing and submission. For such loans, Customers agreed to pay KServicing a

percentage of the fee paid to Customers by the SBA (the “Combined 3PL Fee”)

within thirty days of receiving payment from the SBA.

      14.   The SBA has paid Customers fees associated with numerous loans

which were processed and serviced by KServicing, through the use of KServicing’s

proprietary software, or by SmartBiz after referral from KServicing. Customers,

however, has refused to pay KServicing all amounts owed for the Agent Fees, SaaS

Service Fees, and Combined 3PL Fees associated with those loans.

      15.   Customers continues to withhold such amounts despite KServicing’s

multiple and repeated demands for payment.

      16.   To date, Customers has withheld tens of millions in Agent Fees, SaaS

Service Fees and Combined 3PL Fees owed to KServicing under the PSA and SSA,




                                        4
            Case 1:22-cv-02101-JPB Document 1 Filed 05/25/22 Page 5 of 8




after accounting for setoffs by KServicing of amounts KServicing owes to

Customers.1

                                           COUNT I
                               (Breach of Contract – Agent Fees)

        17.      KServicing incorporates by reference the allegations contained in

paragraphs 1 through 16 of this Complaint as if set forth in their entirety.

        18.      Customers has breached the PSA by failing to pay the Agent Fees owed

to KServicing under the PSA.

        19.      Customers is liable to KServicing for these unpaid amounts.

        20.      The Court should enter judgment in KServicing’s favor and against

Customers in an amount to be proven.

                                        COUNT II
                          (Breach of Contract – SaaS Service Fees)

        21.      KServicing incorporates by reference the allegations contained in

paragraphs 1 through 20 of this Complaint as if set forth in their entirety.

        22.      Customers has breached the PSA by failing to pay the SaaS Service

Fees owed to KServicing under the SSA.

        23.      Customers is liable to KServicing for these unpaid amounts.



1
 Setoff has no impact on borrower payments; for all times, Kabbage has credited borrower payments to the
borrower’s respective accounts.
                                                       5
         Case 1:22-cv-02101-JPB Document 1 Filed 05/25/22 Page 6 of 8




      24.    The Court should enter judgment in KServicing’s favor and against

Customers in an amount to be proven.

                                  COUNT III
                   (Breach of Contract – Combined 3PL Fees)

      25.    KServicing incorporates by reference the allegations contained in

paragraphs 1 through 24 of this Complaint as if set forth in their entirety.

      26.    Customers has breached the March 11, 2021 amendment by failing to

pay the Combined 3PL Fees owed to KServicing under that amendment.

      27.    Customers is liable to KServicing for these unpaid amounts.

      28.    The Court should enter judgment in KServicing’s favor and against

Customers in an amount to be proven.

                             PRAYERS FOR RELIEF

      WHEREFORE, KServicing prays that the Court enter judgment in favor of

KServicing and against Customers awarding:

   1. Damages and all relief available to KServicing as a result of Customers refusal

      to fully pay KServicing under the terms of the PSA, SSA, and all related

      amendments, including interest; and

   2. Any other relief that the Court determines is just or proper.




                                          6
      Case 1:22-cv-02101-JPB Document 1 Filed 05/25/22 Page 7 of 8




DATED: May 25, 2022                    Respectfully submitted,

                                       /s/ Uchenna Ekuma-Nkama
                                       Uchenna Ekuma-Nkama
                                       Georgia Bar No. 957861
                                       Alizé D. Mitchell
                                       Georgia Bar No. 349963
                                       DENTONS US LLP
                                       303 Peachtree Street, N.E.
                                       Suite 5300
                                       Atlanta, GA 30308
                                       Telephone: (404) 527-4000
                                       Facsimile: (404) 527-4198
                                       uchenna.ekuma-nkama@dentons.com
                                       alize.mitchell@dentons.com


                                       Yvette Ostolaza (pro hac vice
                                       forthcoming)
                                       yvette.ostolaza@sidley.com
                                       Robert S. Velevis (pro hac vice
                                       forthcoming)
                                       rvelevis@sidley.com
                                       Drake E. Leifried (pro hac vice
                                       forthcoming)
                                       dleifried@sidley.com
                                       SIDLEY AUSTIN LLP
                                       2021 McKinney Avenue, Suite 2000
                                       Dallas, Texas 75201
                                       Telephone: 214.981.3300
                                       Facsimile: 214.981.3400




                                   7
          Case 1:22-cv-02101-JPB Document 1 Filed 05/25/22 Page 8 of 8




                      UNITED STATES DISTRICT COURT
                      NORTHERN DISTRICT OF GEORGIA
                            ATLANTA DIVISION

Kabbage, Inc. d/b/a KServicing

         Plaintiff,

v.
                                              CIVIL ACTION NO.
Customers Bank,

        Defendant.


                         CERTIFICATE OF COMPLIANCE

     I certify that the foregoing was prepared in accordance with N.D. Ga. L.R. 5.1,

using Times New Roman font, 14 point.

                                                      /s/ Uchenna Ekuma-Nkama
                                                      Uchenna Ekuma-Nkama




                                          8
